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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA


CENTER FOR BIOLOGICAL DIVERSITY and
HEALTHY GULF,

 Plaintiffs,
                                                          Case No: 2:20-cv-00943-WBV-KWR
        v.                                                SECTION D(4)

DAVID BERHNARDT, in his official capacity as             Judge Wendy B. Vitter
Secretary of the U.S. Department of the Interior, and    Magistrate Judge Karen Wells Roby
U.S. FISH AND WILDLIFE SERVICE,

 Defendants.


        This Stipulated Settlement Agreement (“Agreement”) is entered into by and between

Plaintiffs Center for Biological Diversity and Healthy Gulf and Defendants David Bernhardt, in

his official capacity as Secretary of the United States Department of the Interior, and the United

States Fish and Wildlife Service (collectively, “the parties”). In support of this Agreement, the

parties state as follows:

        WHEREAS, Plaintiffs filed a complaint for declaratory and injunctive relief on March

19, 2020, alleging that Defendants had violated the Endangered Species Act (“ESA”) by failing

to complete a final listing determination for the eastern black rail (Laterallus jamaicensis

jamaicensis) within the timeframe outlined in 16 U.S.C. § 1533(b)(6)(A);

        WHEREAS, the United States Fish and Wildlife Service submitted a final rule listing the

eastern black rail as a threatened species under the ESA to the Office of Federal Register for

publication on September 1, 2020, and the final rule was published in the Federal Register on

October 8, 2020 (85 Fed. Reg. 63,764);




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       WHEREAS, the parties, without any admission or final adjudication of the issues of fact

or law with respect to Plaintiffs’ claim for attorneys’ fees, costs, and other expenses, have

reached a settlement that they consider to be just, fair, adequate, and equitable;

       THEREFORE, the parties hereby stipulate and agree as follows:

       1.      Defendants agree to settle Plaintiffs’ entire claim for attorneys’ fees, expenses,

and costs of litigation in the above-captioned matter for a total of $5,000 pursuant to the ESA, 16

U.S.C. § 1540(g)(4).

       2.      Plaintiffs agree to accept payment of $5,000 in full satisfaction of any and all

claims for attorneys’ fees, expenses, and costs of litigation incurred in the above-captioned

matter, through and including the date of this Agreement.

       3.      Plaintiffs agree that receipt of this payment of $5,000 shall operate as a release of

any and all claims for attorneys’ fees, expenses, and costs of litigation that they possess against

the United States, including each named Defendant, incurred in the above-captioned matter,

through and including the date of this Agreement.

       4.      Defendants’ payment, as identified in Paragraph 1 above, shall be accomplished

via electronic payment. Within ten (10) business days after the entry of a Court order approving

this Agreement, Plaintiffs agree to provide Defendants’ counsel with the following information

necessary for Defendants to process the electronic transfer: (i) the payee’s address; (ii) the

payee’s telephone number; (iii) the payee’s bank account number; (iv) account type; (v) bank

routing; (vi) transit number; and (vii) the payee’s tax identification number.

       5.      Defendants agree to submit all necessary paperwork for the processing of the

payment to the Department of the Treasury’s Judgment Fund Office within fifteen (15) business




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days of the Court order approving this Agreement or Plaintiffs providing the necessary

information outlined in Paragraph 4, whichever is later.

        6.     Plaintiffs shall send written confirmation of the receipt of payment to Defendants’

counsel within seven (7) days of receiving the payment.

        7.     Plaintiffs and Plaintiffs’ counsel agree to hold Defendants harmless in any

litigation, further suit, or claim arising from the authorized transfer of the agreed-upon settlement

amount.

        8.     Nothing in this Agreement shall be interpreted as, or shall constitute, a

requirement that Defendants are obligated to pay any funds exceeding those available or take any

action in contravention of the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other law or

regulation.

        9.     By this Agreement, Defendants do not waive any right to contest fees claimed by

Plaintiffs or Plaintiffs’ counsel, including hourly rates, in any future litigation or continuation of

the above-captioned matter. Further, this Agreement, including the provisions relating to

attorneys’ fees and costs, has no precedential value in any other context and shall not be cited in

any other litigation except as necessary to enforce the terms of this Agreement.

        10.    The parties agree that this Agreement was negotiated in good faith and that it

constitutes a settlement of claims that were denied and disputed by the parties. The Agreement

represents the entirety of the parties’ commitments with regard to the settlement of attorneys’

fees, expenses, and costs of litigation in the above-captioned matter, and is intended to be the

final and sole agreement between the parties. The parties agree that any prior or

contemporaneous representations or understandings not explicitly contained in this written

Agreement, whether written or oral, are of no further legal or equitable force or effect.




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       11.     The terms of this Agreement shall become effective upon entry of an order by the

Court approving the Agreement.

       12.     Upon approval of this Agreement by the Court, Plaintiffs’ complaint shall be

dismissed with prejudice.

       13.     The undersigned representatives of each party certify that they are fully

authorized by the party they represent to agree to the Court’s entry of the terms and conditions of

this Agreement and that they agree to the terms herein.




Dated: January 14, 2021

                              Respectfully submitted,


                              JEAN E. WILLIAMS, Deputy Assistant Attorney General
                              SETH M. BARSKY, Chief
                              MEREDITH L. FLAX, Assistant Chief

                              /s/ Kaitlyn Poirier
                              Kaitlyn Poirier, Trial Attorney
                              Wildlife & Marine Resources Section
                              Environment & Natural Resources Division
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                              Attorneys for Defendants

                              /s/ Stephanie Kurose
                              Stephanie Kurose (CT Bar No. 437804)*
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                              /s/ Ryan Adair Shannon
                              Ryan Adair Shannon (OR Bar No. 155537)*


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                                CERTIFICATE OF SERVICE
       I hereby certify that on January 14, 2021, a true and correct copy of the above document

was electronically filed with the Clerk of Court using CM/ECF. Copies of the document will be

served upon interested counsel via the Notices of Electronic Filing that are generated by

CM/ECF.

                                     /s/ Kaitlyn Poirier
                                     Kaitlyn Poirier, Trial Attorney
                                     Wildlife & Marine Resources Section
                                     Environment & Natural Resources Division
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                                     Attorneys for Defendants




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